Case 3:05-cr-00085-JJB-CN Document 239 01/27/14 Page 1of2

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United States Court of Appeals aoe

FIFTH CIRCUIT JAN 2 / 7014

OFFICE OF THE CLERK ‘

U.S. DISTRICT COURT

LYLE W. CAYCE MICDEE, BTRUQFDD LOUISIANA
CLERK 0.S..MAESTRIPLAC

 

 

   

January 22, 2014

Ms. Donna Gregory

U.S, District Court, Middle District of Louisiana
777 Florida Street

Baton Rouge, LA 70801

No. 12-30105 USA v. Wen Liu
USDC No. 3:05-CR-85-1

Enclosed is a copy of the Supreme Court order denying certiorari.

Sincerely,

LYLE W. CAYCE, Clerk

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By:
Lisa G. Landry, Deputy Clerk
504-310-7649

 
Case 3:05-cr-00085-JJB-CN Document 239 01/27/14 Page 2 of 2

Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court

January 21, 2014 (202) 479-3011

Clerk

United States Court of Appeals for the Fifth Circuit
600 S. Maestri Place

New Orleans, LA 70130

Re: Wen Chyu Liu
v. United States
No. 13-7727
(Your No. 12-30105)
Dear Clerk:

The Court today entered the following order in the above-entitled case:

The petition for a writ of certiorari is denied.

Sincerely,

Scott S. Harris, Clerk
